 

DAVIDSON COUNTY SHERIFF’S OFFICE
INMATE GRIEVANCE FORM
ELCONDADO DE DAVIDSON LA OFICINA DE SHERIFF
FORMA DE AGRAVIOS DEL ENCARCELADO

 

 

ORIGINAL/ORIGINAL [X] APPEAL/APELAR [|
Name/Nombre: _ Al ecowdee BWarttsee  OCA/OCA: OG V 360
Facility and Cell/Facilidady Celda: Hd < Cod G Bed |

 

Rules/Reglas

1. Grievances should be submitted within seven (7) calendar days of the occurrence.
Las quejas deben ser sometidas dentro de siety (7) dias de calendario de Ja ocurrencia.

2. The issue being grieved must affect the inmate filing the complaint. If it does not, the grievance will not be
processed. .
La persona afectada por el incidente es la personal que debe Ilenar la forma. De no ser asi, la queja so sera
procesada.

3. Duplicate grievances will not be processed. An inmate is allowed to submit no more than one grievance for
any incident.
Mas de una queja para el mismo incidente no sera procesada. Un preso es permitido someter no mas de una
queja por cada incidente.

4, Grievances with vulgar or inappro; “iat. language. will nit
Quejas con palabras vulgares o lenguaje inapropiado no:seran procesadas.

5. Jfmore than one inmate files a grievance about the same incident, the responses may be consolidated. If so, it
will be noted on the response.
Si mas de un preso archiva una queja acerca del mismo incidente, las respuestas pueden ser consolidadas. Si _ ;
eso es el caso, sera notado en la respuesta.

6. An appeal should be submitted within no more than five (5) days after notification of the original response.
Una apelacién debe ser sometida dentro de no mas de cinco (5) dias después de la notificacién de las
respuesta original.

7. Grievances and appeals must be placed in the designated grievance box by the inmate.
Las quejas y apelaciones deben de ser. colocadas en la caja designada de quejas en la celda.

 

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Inmate’s Signature Date Signed

 

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Rev. 09/16/2010

Case 3:15-cv-00019 Document 1-1 Filed 01/07/15 Page 1 of 20 PagelD #: 8
 

 

DAVIDSON COUNTY SHERIFF'S OFFICE
1/15/2014

Case Note Details for 696578-BAXTER,ALEXANDER :

Note Id: ]128625;

 
 

 

Housing Location: [__HDC-AB[ 8

Entry Date: }01/15/2014 15:10

    

Entry Type: {Grievance

 

Contact Date: | 14 15
{Inmate submitted a grievance that was not within the scope of DCSO jurisdiction.

Case 3:15-cv-00019 Document 1-1 Filed 01/07/15 Page 2 of 20 PagelD #: 9

Page 1 of 1

 
 

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Nok SO fe lake DAVIDSON COUNTY SHERIFF'S OFFICE

INMATE GRIEV/NCE FORM

ELCONDADO DE DAVIDSON A OFICINA DE SHERIFF
FOR'* DE AGRAVIOS DF", SCARAEL STO

 

 

 

ORIGINAL/ORIGINAL 1M] APPEAL/JAPELAR re

Name/Nombre: Weyvowd)en GB atke OCA/OCA: BEFF6O

Facility and Cell/Facilidady Celda: HDC “Ved & Bed (
Rules/Reglas

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Inmate’s Signature . Date Signed
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Case 3:15-cv-00019 Document 1-4 Filed 01/07/15 Page 3 of 20 PagelD #: 10

 

 
 

 

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Case 3:15-cv-00019. Document 1-1 Filed 01/07/14

 

 
 

METROPOLITAN POLICE DEPARTMENT
of Nashville and Davidson County

 

Karl F. Dean, Mayor

Steve Anderson -
Chief of Police

April 9, 2014

Alexander Baxter (OCA 68360)

C/O Davidson County Sheriff's Office
P. O. Box 196383

Nashville, TN. 37219

Mr. Baxter,
I have completed my investigation of your allegations concerning Officer Harris. After reviewing the facts
present I have determined the complaint against Officer Harris to be exonerated.

Officer Harris’ actions were found to be consistent with Metro Police Departmental Policy.
If you have any further questions please do not hesitate to ask. I can be reached at 862-7623.

Thank you,

Sgt. Chris Warner
Metro/Nashville Police Department

Canine Section
(615) 862-7623

s Robertson Parkway’ Nashville, Tennessee

Case 3:15-cv-00019 Document 1-1 Filed OL/O7/15" Page 5 of 20 PagelD #: 12

 

 

 
 

 

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Case 3:15-cv-00019 Document 1-1 Filed 01/07/15 Page 6 of 20 PagelD #: 13

 
 

 

Karl F. Dean, Mayor

Steve Anderson
Chief of Police

Lt. Christopher Gilder

Office of Professional Accountability
Metropolitan Nashville Police Dept.
200 James Robertson Pkwy
Nashville, TN 37201

April 30, 2014 -

Mr. Alexander Baxter

OCA# 68360
Davidson County Sheriff's Offic
P.O. Box 196383

Nashville, TN 37219-6383

Dear Mr. Baxter:

 

METROPOLITAN POLICE DEPARTMENT

of Nashville and Davidson County

I am in receipt of you letter dated April 24, 2014. Your original complaint was received
and forwarded to Captain Dhana Jones, who oversees the MNPD’s K-9 Unit, for
investigation. As such, I do not have a status update on this matter. I have, however,
forwarded your correspondence to her. If you need to contact Capt. Jones, you may do so
by writing to the address supplied at the top of this letter or by calling 862-7755.

Sincerely,

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Lt. Christopher Gil

 

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Case 3:15-cv-00019 Document 1-1 Filed 01/07/15 Page 8 of 20 PagelD #: 15

 
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Case 3:15-cv-00019 Document 1-1 Filed 01/07/15 Page 9 of 20 PagelD #: 16

 
 

 

 

METROPOLITAN POLICE DEPARTMENT
of Nashville and Davidson County

 

Karl F. Dean, Mayor

Steve Anderson
Chief of Police

Lt. Christopher Gilder
Office of Professional Accountability
Metropolitan Nashville Police Dept.
200 James Robertson Pkwy.

‘ Nashville, TN 37201
May 8, 2014

Mr. Alexander Baxter
OCA#68360

Davidson County Sheriffs Office
P.O. Box 196383

Nashville, TN 37219-6383

Mr. Baxter:

I am in receipt of your letter dated May 2, 2014. As noted in my correspondence on April 30,
2014, the Office of Professional Accountability did not conduct an investigation in this matter.
Instead, the investigation was handled by a supervisor in the Canine Section — Sgt. Chris Warner. |
Any questions regarding the investigation should be directed to him at the contact information he
provided in the letter he sent to you on April 9, 2014. A copy of your most recent
correspondence will be forwarded to him.

Sincerely,

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Lt. Christopher Gild¢r

 

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Case 3:15-cv-00019 Document1-1 Filed 01/07/15 Page 12 of 20 PagelD #: 19

 

 
 

METROPOLITAN POLICE DEPARTMENT

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Karl F. Dean, Mayor

Steve Anderson
Chief of Police

May 20th, 2014

Alexander Baxter (OCA 68360)

C/O Davidson County Sheriff's Office
P. O. Box 196383

Nashville, TN. 37219

Mr. Baxter,

I have completed my investigation of your allegations concerning Officer Bracey. After reviewing the facts
present I have determined the complaint against Officer Bracey to be exonerated.

Officer Bracey actions were found to be consistent with Metro Police Departmental Policy. He was not inside
the structure at the time of the incident in question.

If you have any further questions please do not hesitate to ask. I can be reached at 862-7623.

Thank you,

Sgt. Chris Warner

Metro/Nashville Police Department
Canine Section

(615) 862-7623

Case 3:15-CV-B66TS "Boctinent 1-1 Filed O16 7/15 Page 13 of 20 PagelD #: 20

 

 

 
METROPOLITAN GOVERNMES S204 SHAIPELE AND DAVIDSON COUNTY

 

KARL F. DEAN DEPARTMENT OF LAW
MAYOR METROPOLITAN COURTHOUSE, SUITE 108
PO BOX 196300
SAUL SOLOMON NASHVILLE, TENNESSEE 37219-6300

DIRECTOR OF LAW (615) 862-6341 * (615) 862-6352 FAX

May 22, 2014

Alexander L. Baxter, OCA #68360
Davidson county Sherif’s Office
P.O. Box 196383

Nashville, TN 37219

Re: May 1, 2014 letter
Dear Mr. Baxter: \ é
I am writing in response to your May 1, 2014 letter copied to Mayor Dean where you
complained about the conduct of several Metropolitan Nashville Police Department

(“MNPD”) officers.

I have conveyed the necessary information regarding your complaint about the
MNPD officers to the Police Department for further review.

Sincerely,

Ceraifes Cavanaudy

Jennifer Cavanaugh
Assistant Metropolitan Attorney

B-013579 .
Case 3:15-cv-00019 Documenti1-1 Filed 01/07/15 Page 14 of 20 PagelD #: 21

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OCA 2w6F560
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Sgt. Chars Waeweg, MNPD S-23-1¥

200 Dames Robsatson Parkway
Neshutle, TU 3 720F

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Case 3:15-cv-00019 Document1-1 Filed:01/07/15 Page 15 of 20 PagelD #: 22

 
 

 

 

 

 

Karl F. Dean, Mayor

Steve Anderson
Chief of Police

Lt. Christopher Gilder

Office of Professional Accountability
Metropolitan Nashville Police Dept.
200 James Robertson Pkwy
Nashville, TN 37204

June 26, 2014

Mr. Alexander Baxter

OCA# 68360

Davidson County Sheriff's Office
P.O. Box 196383

Nashville, TN 37219-6383

Dear Mr. Baxter:

METROPOLITAN POLICE DEPART. MEN: T
of Nashville and Davidson County

| am in receipt of your letter dated June 17, 2014. A member of my office has reviewed the
administrative investigation associated with the incident on January 8, 2014. After reviewing the
investigative packet, we find no error to justify reopening the matter.

Given that you are represented by counsel, and that you have already been in touch with the
Metropolitan Department of Law, i would request that any future correspondence be directed to them.

Respectfully,

Lt. Christopher Gilder,

Case 3:15-cv 00010 Doeu

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To: Mayor Kael Deew _ ae co wo ¥ 2e- 1d ae
& Metecpsliten Courthwe p

P.O. Bex (86383 8 oe
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From: Alexander L. Bextea, OCR #6330
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P.O. Bow (e3. 83, ee nae et
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